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                              UNITED STATES DISTRICT COURT

                                 DISTRICT OF SOUTH DAKOTA

                                      SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                                        4:22-CR-40122-RAL


                         Plaintiff,
                                                      OPINION AND ORDER ON MOTIONS IN
          vs.                                              LIMINE AND OTHER PENDING
                                                                   MOTIONS
 SHANE MOUSSEAUX,

                         Defendant.




    I.       Background

          A Superseding Indictment, Doc. 20, charges the defendant, Shane Mousseaux, with three

 counts on sexual abuse of a minor and two counts of abusive sexual contact. Defendant has

 pleaded not guilty to these charges, and the parties are proceeding to trial. There are various

 motions pending in the case, and this Court held a pretrial conference and motion hearing on April

 8, 2024, to hear argument from both parties on the motions. The pending motions included

 Defendant's motion to continue trial. Doc. 49; the United States' motion to allow use of an FBI

 courthouse facility dog. Doc. 40; the United States' motions in limine. Doc. 54; and Defendant's

 motions in limine. Doc. 57. This Court ruled from the bench on the motions and now formalizes

 its rulings with this Opinion and Order.

    II.      Defendant's Motion to Continue


          On April 3, 2024, Defendant moved to continue the trial set to begin April 16, 2024,

 arguing late discovery and the need for an expert witness if this Court were to allow hearsay

 testimony from or playing of the forensic interviews of the teenage alleged victims under the

 residual hearsay exception, of which the United States gave notice. Doc. 49. The United States
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 resists the motion to continue the trial. Doc. 51. This Court expects the teenage alleged victims

 to testify at trial and doubts that it will allow any substantive part of their forensic interview into

 evidence, which undercuts Defendant's main justification for an expert and a continuance. The

 forensic interviewers may testify about how and when the interviews occurred, but the alleged

 victims' statements during those interviews cannot replace their actual testimony at trial.

 Defendant may elicit from the interviewers statements made during those interviews which

 impeach the alleged victims. Whether doing so opens the door to re-direct on sorhe consistent

 statements to contextualize the inconsistencies is a matter for ruling at trial.

        "District courts are afforded broad discretion when ruling on requests for continuances.

 Further, a district court's discretion is at its zenith when the issue of a continuance is raised close

 to the trial date." United States v. Chahia. 544 F.3d 890, 896 (8th Cir. 2008)(cleaned up and

 citations omitted). For the reasons discussed on the record, this Court denies the Defendant's

 Motion for Continuance, Doc. 49.

     ni.     Motion to Allow Use of an FBI Courthouse Facility Dog During Trial

         The United States moved to allow use of an FBI courthouse facility dog in the courtroom

 during the testimony of the alleged victims, each of whom are minors, as well as in the witness

 room in the courthouse before and after the testimony of the alleged victims. Doc. 40. The

 Defendant does not object to use ofthe courthouse facility dog in the courthouse and in the witness

 room, and the Court grants the motion to that extent. However,the Defendant does object to use

 ofthe dog in the courtroom during the testimony ofthe alleged victims. This Court wants to see

 whether the alleged victims can testify without the dog in the courtroom, but may reconsider ifthe

 victims have trouble testifying without the dog being present.

    IV.      Motions in Limine
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        Rulings on motions in limine are, by their nature, preliminary. United States v. Spotted

 Horse.916 F.3d 686,693(8th Cir. 2019). They "developed pursuant to the district court's inherent

 authority to manage the course of trials," Luce v. United States. 469 U.S. 38, 41 n.4 (1984), and

 are "specifically designed to streamline the presentation of evidence and avoid unnecessary

 mistrials," Spotted Horse. 916 F.3d at 693. This practice helps safeguard the jury from hearing

 evidence so prejudicial that its mention could not be remedied through a corrective instruction.

 Motion in limine. Black's Law Dictionary (11th ed. 2019). Rulings on motions in limine

 necessarily occur before the nature and relevance of the evidence can be placed in full context.

 See Spotted Horse. 916 F.3d at 693. Therefore, a district court has broad discretion when ruling

 on motions in limine and retains the authority to revisit and change its rulings based on how the

 case unfolds. Luce. 469 U.S. at 41-42. If this Court grants a motion in limine to exclude certain

 information, that information must not be mentioned during voir dire, opening statements,

 questioning or answering by witnesses, or closing arguments, imless counsel outside the hearing

 ofthe jury obtain from this Court a contrary ruling.

    A. United States' Motion in Limine


        The United States' Motion in Limine has twelve subparts and seeks to (1) to exclude

 references to penalty and punishment; (2) to exclude opining on the guilt or innocence of the

 Defendant;(3)to exclude reference to matters required to be raised by pretrial motion under Fed.

 R. Crim.P. 12(b)(3);(4)to exclude reference to the government's charging decisions in this matter;

(5) to exclude evidence or argument relating to the jury's power of nullification;(6) to exclude

 hearsay statements of the Defendant offered by the Defendant;(7) to permit Federal Bureau of

 Investigation Special Agent Patrick Bumann to sit at counsel's table during trial;(8)to permit the

 alleged victims to sit in the courtroom during trial;(9)to sequester witnesses, other than Special
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 Agent Bumann and the alleged victims; from the courtroom,(10)to exclude reference to or use of

 any alleged victim's mental health or medical treatment;(11)to exclude any evidence regarding

 any alleged victim's prior marijuana use; and(12)to exclude issues relating to the alleged victims'

 mother.


     1. Reference to Penalty or Punishment

        Under subpart one, the United States moves to preclude Defendant, his attomey, and any

 witness from referring to the possible penalty or punishment Defendant will face if convicted of

 the crimes charged and, in particular, any questioning related to Defendant's "future plans." The

 United States argues that permitting thejury to hear information about what penalty or punishment

 Defendant faces would be improper and would only confuse the jury. This Court agrees.

        "It is well established that when ajury has no sentencing function,it should be admonished

 to reach its verdict without regard to what sentence might be imposed." Shannon v. United States.

 512 U.S. 573, 579(1994)(cleaned up and citation omitted). The jury's role "is to find the facts

 and to decide whether, on those facts, the defendant is guilty of the crime charged." Id.

 "[Pjroviding jurors sentencing information invites them to ponder matters . .. not within their

 province, distracts them from their factfinding responsibilities, and creates a strong possibility of

 confusion." Id (citation omitted). The collateral consequences stemming from a felony charge or

 conviction are irrelevant to Defendant's guilt and has no role in the jury's decision-making

 process; given that it has no function in the jury's task, any probative value it may have had is

 substantially outweighed by the risk ofconfusing the issues and misleading the jury. See id; Fed.

 R. Evid. 403. The jury must be able to carry out its role iminfluenced by the consequence of its

 verdict. See Shannon. 512 U.S. at 578 (citation omitted); United States v. Fisher. 10 F.3d 115,
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 121 (3d Cir. 1993) ("[FJederal criminal juries are almost never instrueted eonceming the

 consequenees of verdiets.").

        Aceordingly,this Court grants the United States' motion in limine as to subpart one. There

 shall be no referenee to or eomment on the possible penalty or punishment Defendant could receive

 if eonvieted. This does not, however, preelude Defendant from referring to the charges as

"serious" or "felony" offenses.

    2. Opining on the Guilt or Innocence of the Defendant

        Under subpart two,the United States requests an order barring Defendant, defense counsel,

 and any witness from expressing an opinion about the guilt or iimoeence of Defendant. Evidenee

 expressing an opinion on a defendant's innoeenee or guilt "invades the provinee of the jury" and

 is inadmissible. See United States v. Thirion. 813 F.2d 146, 156 (8th Cir. 1987)(reasoning that a

 government witness's opinion that defendant was innoeent "is not truly exeulpatory evidence

 beeause it is inadmissible as it invades the province of the jury"); Wesson v. United States, 164

 F.2d 50, 55 (8th Cir. 1947)("And any such unnecessary opinion evidenee in a eriminal ease that

 will inescapably be a plain expression of the witness' opinion ofthe defendant's guilt... should

 be serupulously avoided."). Therefore, neither Defendant, defense counsel, nor any witness may

 opine on the guilt or innoeenee of Defendant. This, of eourse, does not preclude Defendant or

 defense counsel from arguing whether the evidenee presented at trial does or does not establish

 guilt beyond a reasonable doubt, nor does it preelude Defendant from testifying or arguing that he

 is aetually innoeent ofthe offenses eharged.

    3. Reference to Matters Required to be Raised by Pretrial Motion
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        Next, the United States seeks to prohibit Defendant from referencing matters that should

 have been brought before this Court by pretrial motion under Fed. R. Grim.P. 12(b)(3). In relevant

 part, Rule 12(b)(3) provides that:

        The following defenses, objections, and requests must be raised by pretrial motion
        if the basis for the motion is then reasonably available and the motion can be
        determined without a trial on the merits:
               (A)a defect in instituting the prosecution, including:
                     (i) improper venue;
                     (ii) preindictment delay;
                     (til) a violation ofthe constitutional right to a speedy trial;
                     (Iv) selective or vindictive prosecution; and
                     (v)an error in the grand-jury proceeding or preliminary hearing;
               (B)a defect in the indictment or information, including:
                     (i)joining two or more offenses in the same count(duplicity);
                     (ii) charging the same offense in more than one count(multiplicity);
                     (iii) lack of specificity;
                     (iv) improper joinder; and
                     (v)failure to state an offense;
               (C)suppression of evidence;
               (D)severance of charges or defendants under Rule 14; and
               (E)discovery under Rule 16.

 Additionally, although not explicitly listed under Rule 12(b)(3), a defendant's argument that law

 enforcement engaged in "outrageous government conduct"^ is a question oflaw and therefore must

 be "raised as a pre-trial motion to dismiss the indictment." United States v. Nguven.250 F.3d 643,

 645-46 (8th Cir. 2001)(stating that the failure to file a pre-trial motion to dismiss the indictment

 based on outrageous government conduct"waives the issue")(citing United States v. Henderson-

 Durand. 985 F.2d 970, 973 n.4 (8th Cir. 1993)); see also United States v. Duncan. 896 F.2d 271,




 ^ Outrageous governmental conduct refers to "conduct of law enforcement agents [that] is so
 outrageous that due process principles would absolutely bar the governmentfrom invokingjudicial
 processes to obtain a conviction." United States v. Russell. 411 U.S. 423, 431-32 (1973). The
 United States Court ofAppeals for the Eighth Circuit has stated that"[t]he level ofoutrageousness
 needed to prove a due process violation is 'quite high,' and the government's conduct must'shock
the conscience ofthe court.'" United States v. Hunt. 171 F.3d 1192,1195(8th Cir. 1999)(quoting
United States v. Pardue. 983 F.2d 835, 847(8th Cir. 1993)).
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 274-75 (7th Cir. 1990) (agreeing "with the Second Circuit that an outrageous governmental

 conduct defense must be made the subject of a pre-trial motion"(citing United States v. Nunez-

 Rios. 622 F.2d 1093,1098(2nd Cir. 1980)).

         Unless otherwise set by the court, the deadline to file motions under Rule 12(b)(3) is the

 start oftrial. Fed. R. Crim. P. 12(c)(1),(c)(3)("If a party does not meet the deadline for making a

 Rule 12(b)(3) motion,the motion is untimely.");^United States v. Trancheff. 633 F.3d 696,697

(8th Cir. 2011). A party's failure "to [timely] file a pretrial motion by the deadline" constitutes a

 waiver ofthat issue. Trancheff 633 F.3d at 697. Although a court has the discretion to excuse a

 waiver and review an untimely filed pretrial motion,id,the party seeking the court's review must

 show good cause, meaning they "must show both cause and prejudice." United States v. Maver.

 63 F.4th 680, 683 (8th Cir. 2023)(citation omitted). Thus, absent good cause shown, Defendant

 may not raise or argue a defense, objection, or request enumerated under Rule 12(b)(3) if not

 timely filed with this Court pretrial.

        The Defendant does not object to this motion. Doc. 56. Accordingly,this Court grants the

 United States' motion in limine as to subpart three.

    4. Reference to the Government's Charging Decisions in this Matter

        The United States requests an order preventing Defendant, defense counsel, and any

 witness from making direct or indirect reference to the United States' charging decision in this

 matter as "irrelevant and overly prejudicial." The Defendant does not object. Doc. 56. Therefore,

 subpart four ofthe United States' motion in limine is granted.

    5. Evidence or Argument Relating to Jury's Power of Nullification

        Subpart five seeks to prevent Defendant, defense counsel, and any witness from making

 direct or indirect reference to jury nullification, including how long the case has been pending and
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 that it has been presented to the grand jury multiple times. The United States argues that such

 information is not relevant to Defendant's guilt. This Court agrees, and the Defendant does not

 object. This Court grants subpart five ofthe United States' motion in limine.

    6. Hearsay Statements of the Defendant Offered by the Defendant

        In subpart six, the United States seeks to prevent Defendant from admitting into evidence

 self-serving out-of-court statements that he may have made to police officers, friends, relatives, or

 anyone else. The United States argues that such self-serving statements are hearsay and

 inadmissible under Rule 801 of the Federal Rules of Evidence. Unless an exception otherwise

 applies, a defendant's out-of-court statements, if offered by the defendant to prove the truth ofthe

 matter asserted, are inadmissible as hearsay. Fed. R.Evid. 801(c)-(d);^United States v. Waters.

 194 F.3d 926, 931 (8th Cir. 1999)(holding that defendant could not admit his own out-of-court

 statements to FBI agent because they were inadmissible hearsay); United States v. White Horse.

 177 F. Supp. 2d 973, 977(D.S.D. 2001)(reasoning that defendant's statements to a doctor were

 inadmissible hearsay because they were offered by the defendant and were not offered under the

 exception for statements made for the purpose of diagnosis or treatment).

        Accordingly, any out-of-court statement made and offered by Defendant to prove the truth

 of the matter asserted will be inadmissible unless Defendant can show that the statement is

 admissible imder an exception to the rule against hearsay. Defendant's out-of-court statements

 that are admissions against material interest are admissible. Fed. R.Evid. 801(d)(2), and Defendant

 may seek to introduce under the rule of completeness Defendant's other statements that

 accompanied the admissions against interest. Fed. R. Evid. 106 ("If a party introduces all or part

 of a statement, an adverse party may require introduction, at that time, of any other part—or any

 other statement—^that in fairness ought to be considered at the same time. The adverse party may
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 do so over a hearsay objection."). But see United States v. Roberts. 86 F.4tb 1183,1188 (8tb Cir.

 2023)("Rule 106 'does not empower a court to admit unrelated hearsay in the interest offairness

 and completeness when that hearsay does not come within a defined hearsay exception.'"(quoting

 United States v. Ramos-Caraballo. 375 F.3d 797, 803(8th Cir. 2004))).

     7. Sequestration of Witnesses, Special Agent Bumann,and Allegied Victims

        Subparts seven, eight, and nine of the United States' Motion in Limine seek an order

 sequestering all witnesses, except for one investigator or case agent for both the United States and

 Defendant and for the alleged victims after the alleged victims have testified. "The purpose of

 sequestration is to prevent witnesses fi-om tailoring their testimony to that of prior witnesses and

 aid in the detection ofdishonesty." United States v. Engelmann.701 F.3d 874,877(8th Cir. 2012)

(citation omitted). "At a party's request, the court must order witnesses excluded from the

 courtroom so that they cannot hear other witnesses'testimony." Fed.R.Evid.615;see Engelmann.

 701 F.3d at 877. Generally, a "district court is granted wide latitude in implementing sequestration

 orders." Engelmann. 701 F.3d at 877 (citation omitted). And "the decision whether to allow the

 government's agent to testify even though the agent sits at the counsel table throughout the trial is

 left to the trial court's discretion." Id (cleaned up and citation omitted).

        Further, a crime victini has "[t]he right not to be excluded from any such public court

 proceeding, unless the court, after receiving clear and convincing, determines that testimony by

 the victim would be materially altered ifthe victim heard other testimony at that proceeding." 18

 U.S.C. § 3771(a)(3); see also Fed. R. Crim. P. 60(a)(2). There is no risk the testimony by any

 alleged victim would be "materially altered" fi-om having heard other testimony because the United

 States has only requested the alleged victims be permitted to sit in the courtroom during the

 proceedings after the alleged victim has already testified.
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         Defendant does not object to subparts seven, eight, or nine. Doc. 56. Therefore,this Court

 grants subparts seven, eight, and nine of the United States' Motion in Limine. All witnesses—

 whether for the United States or Defendant—^will be sequestered, except for the case agent for the

 United States, FBI Special Agent Bumann; the alleged victims; and any witness who is released

 from subpoena by both parties.

    8. Reference to or Use of Any Alleged Victim's Mental Health or Medical Treatment

        Subpart ten seeks to prevent introduction of evidence or testimony regarding any alleged

 victim's mental health or medical records as "there are no indications in any of the pleadings or

 on the record that any of the victim's mental health or medical issues have any bearing on their

 ability to perceive or to tell the truth." The Defendant does not anticipate testimony related to

 these matters but objects to the extent that such testimony may become relevant in the course of

 the proceedings. Because rulings on motions in limine are necessarily preliminary, s^ Spotted

 Horse. 916 F.3d at 693, and the record does not currently suggest testimony on these matters will

 be relevant, subpart ten is granted at this time.

    9. Evidence Regarding Alleged Victim's Prior Actions and Conduct

        In subpart eleven,the United States moves to preclude the Defendant, defense counsel, and

 any witness from raising any victim's prior marijuana use as irrelevant or unfairly prejudicial under

 Rule 403. Defendant does not intend to elicit any testimony related to prior marijuana use and

 does not object to the motion. The Court grants subpart eleven.

    10. Issues Relating to the Alleged Victims' Mother

        The United States seeks to exclude "evidence related to issues involving the victims'

 mother, including her discipline of her children and allegations that she emotionally abuse[d]

 them," in subpart 12 of its motion in limine. The defense objects, considering the Child's Voice
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 interviews from November 2021 to be "of great signifieanee." The Child's Voiee interviews

 stemmed from reported abuse in the home, but evidently did not touch upon allegations of sexual

 abuse and precede some of the alleged sexual abuse. The children's mother is not on trial of

 course, though the fact that the children's home included their mother who was in a relationship

 with Defendant is relevant. This Court grants the motion in part, deferring ruling on the possible

 admission of limited evidence on why there were November 2021 forensic interviews or the

 involvement of Yankton Sioux Tribe social workers in the children's lives.


    B. Defendant's Motion in Limine


        Defendant's Motion in Limine, Doe. 57, and the memorandum in support of the motion,

 Doe. 58, contain four subparts which seek to prevent the introduction of (1) allegations the

 Defendant physically or verbally abused his sons,(2)testimony regarding the Defendant's use of

 marijuana or alcohol, (3) photos or testimony regarding condoms or "Extenze" pills, and (4)

 testimony regarding the discovery or contents of a handwritten note.

    1. Allegations that Defendant Physically or Verbally Abused his Sons

        Defendant moves to exclude any allegations regarding physical or verbal abuse toward his

 sons as irrelevant, unfairly prejudicial, and as improper character evidence. See Fed. R. Evid.402

 ("Irrelevant evidence is not admissible."); Fed. R. Evid. 403 (allowing exclusion of relevant

 evidence where "its probative value is substantially outweighed by a danger of . . . unfair

 prejudice"); Fed. R. Evid. 404(a)(1)("Evidence of a person's character or character trait is not

 admissible to prove that on a particular occasion the person acted in accordance with the character

 or trait."). This Court agrees and grants subpart one of Defendant's motion in limine, although if

 Defendant seeks to introduce the involvement of Yankton Sioux Tribe social workers in the
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 children's lives, this eould open the door to allow the United States to explain that allegations of

 abuse in the ehildren's home extended beyond the conduet ofthe children's mother.

     2. Testimony Regarding Defendant's Use of Marijuana or Alcohol

           Defendant moves to prevent the United States from introducing evidence or testimony

 regarding Defendant's prior marijuana or aleohol use as irrelevant, unfairly prejudieial, and

 improper charaeter evidenee. S^ Fed. R. Evid. 402 ("Irrelevant evidence is not admissible.");

 Fed. R. Evid. 403 (allowing exelusion of relevant evidence where "its probative value is

 substantially outweighed by a danger of... unfair prejudiee"); Fed. R. Evid. 404(a)(1)("Evidenee

 ofa person's eharacter or character trait is not admissible to prove that on a particular occasion the

 person acted in aeeordance with the character or trait."). Beeause the record does not suggest the

 Defendant acted under the influence of marijuana or aleohol at the time of the alleged eonduct

 giving rise to the charges, this Court agrees and grants subpart two of Defendant's motion in

 limine.


    3. Photos or Testimony Regarding Condoms or Extenze Pills

           Defendant moves to preclude the United States from introducing (1) any evidence or

 testimony related to Extenze pills found in the home and (2) any evidenee, photos, or testimony

 from the victims' mother regarding condoms she found in her laundry room. The motion does not

 attempt to exelude any testimony from any alleged vietim regarding Defendant's alleged use of

 eondoms during the charged offenses. The United States objeets in part, arguing that the victim's

 mother should be allowed to testify regarding the significanee of finding condoms in the laundry

 room as she did,though the United States could not explain the signifieance ofher doing so during

 the pretrial conferenee. This Court grants subpart three ofthe Defendant's motion in limine at this

 time, but nothing in this order precludes the alleged victim from testifying about the Defendant
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  allegedly using condoms during the charged offenses. If the mother's finding of the condoms in

 the laundry room is relevant, this Court will reconsider this ruling.

     4. Testimony Regarding a Handwritten Note

          Subpart four of Defendant's motion in limine seeks to preclude introduction ofa note from

 one of the alleged victims as hearsay. The United States does not anticipate introducing the note.

 Therefore, this Court grants subpart four ofthe Defendant's motion in limine.

     V.      Subpoena Duces Tecum

          Yesterday prior to the pretrial conference and motion hearing, Defendant filed a Motion

 for Subpoena Duces Tecum to the Yankton Sioux Tribe Child Welfare Director for records of

 social worker visits to the home. Doc. 66. The FBI has sought such records at Defendmit's request

 without receiving them. Doc. 66 at 3. During the pretrial conference, this Court and the parties

 discussed this subpoena duces tecum. This Court yesterday granted the motion in part. Doc. 67,

 and had the Clerk ofCourt issue a Subpoena Duces Tecum,Doc.68,for the records to be produced

 for in camera review by this Court, Doc. 69. After the subpoena duces tecum is served, this Court

 will conduct an in camera review of the materials received to see whether any of their content is

 discoverable. Neither party expected the records to show disclosure ofsexual abuse by Defendant,

 but Defendant may want to use the records to argue that one or both ofthe alleged victims forewent

 opportunities to disclose sexual abuse to social workers.

          DATED this 9th day of April, 2024.

                                               BY THE COURT:




                                               ROBERTO A. LANGE
                                               CHIEF JUDGE
